Case 1:04-cv-01321-.]DT-STA Document 12 Filed 05/03/05 Page 1 of 3 |D 6

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE

 

PATR|C|A J. HUDSON,
P|aintiff

VS. C|V|L ACT|ON NO. 1:04-1321-T

\_¢ll_¢\_ll_l\_lhl

JO ANNE B. BARNHART,
COmmiSSiOnel` Of SOCial SECUl‘itV, ]
Defendant ]

ORDER GRANT|NGMOT|ON FOR AN EXTENS|ON OF TlME
WlTHlN WH|CH TO FlLE MOT|ON FOR JUDMENT
ON THE RECORD AND SUPPORTING BR|EF

 

 

 

UDOn NlOtiOn O'F the Plainti'l:f, there being nO OD]€CUO|'\, lT lS
HEREBY ORDERED that COUnS€| fOI` the Plaintiff, PATR|C|A J. HUDSON,
be and iS ner€bv granted an additional tniFtV (30) daVS Within WhiCh

tO file a NlOtiOn fOI` judgment On the FeCOFd and SUDDOI‘tinQ bri€f.

haw

U.s sTRlcT jUDGE

“ZMWS/

  

 

NA YE, Attor@ for Plaintiff

This document entered on the docket sheet in compliance
with lr'i\.l|¢a 58 and,'or_?Q (a) FHCP on 52 5

/Q

Case 1:04-cv-01321-.]DT-STA Document 12 Filed 05/03/05 Page 2 of 3 Page|D 7

CERT|F|CATE OF SERV|CE
l certify that l have mailed a copy of the foregoing Iviotion to

Ml". JOe A. DVCUS, ASSiStant U.S. AttOFn€\/, 800 Fed€ral OffiC@ BUHC"|'\Q,

(
Memphis, TN 38103 this jZ§'P/Eav of [,%é ,2005.

  

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This notice confirms a copy of the document docketed as number 12 in
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Honorable .1 ames Todd
US DISTRICT COURT

